        Case 1-18-01052-cec             Doc 5      Filed 04/25/18   Entered 04/25/18 15:33:30




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re:                                                                  Chapter 11

FMTB BH LLC,                                                            Case No. 18-42228-cec

                                             Debtor.
-------------------------------------------------------------x
FMTB BH LLC,                                                            Adv. Pro. No. 18-01052-cec

                                            Plaintiff,

          against

1988 MORRIS AVENUE LLC, 1974 MORRIS
AVENUE LLC, 700 BECK STREET LLC, 1143
FOREST AVENUE LLC, and 1821 TOPPING
AVENUE LLC,

                                             Defendants.
-------------------------------------------------------------x

                                         AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ss.:
COUNTY OF NEW YORK )

        NATHANAEL F. MEYERS, being duly sworn, deposes and says:

        1. I am not a party to the action, am over 18 years of age and reside in Brooklyn, N.Y.
        2. On the 24th day of April, 2018, I served the Complaint with attached Adversary
Proceeding Cover Sheet [Adv. Doc. No. 3], Summons and Notice of Pretrial Conference In an
Adversary Proceeding [Adv. Doc. No. 4], and the appropriate Notice of Pendency attached hereto
as Exhibit A via FIRST CLASS MAIL upon the attached Service List by depositing true copies of
same enclosed in post-paid, properly addressed wrappers in an official depository under the




{00929000.DOCX;1 }                                       1
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exclusive care and custody of the United States Postal Service within the State of New York.

Sworn to before me this                                    /s/Nathanael F. Meyers
25th day of April, 2018                                     NATHANAEL F. MEYERS

/s/ Robert M. Sasloff
Notary Public, State of New York
No. 02SA4966401
Qualified in Kings County
Commission Expires 5-7-2018




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                                      SERVICE LIST

1821 TOPPING AVE LLC
C/O LEGALINC CORPORATE SERVICES INC.
1967 WEHRLE DRIVE, SUITE 1-086
BUFFALO, NEW YORK, 14221

1974 MORRIS AVE LLC
C/O REGISTERED AGENTS INC.
90 STATE STREET
STE 700 OFFICE 40
ALBANY, NEW YORK, 12207

1988 MORRIS AVE LLC
C/O LEGALINC CORPORATE SERVICES INC.
1967 WEHRLE DRIVE
SUITE 1-086
BUFFALO, NEW YORK, 14221

700 BECK STREET LLC
C/O LEGALINC CORPORATE SERVICES INC.
1967 WEHRLE DRIVE SUITE 1-086
BUFFALO, NEW YORK, 14221

1143 FOREST AVE LLC
C/O LEGALINC CORPORATE SERVICES INC.
1967 WEHRLE DRIVE SUITE 1-086
BUFFALO, NEW YORK, 14221




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                       EXHIBIT A
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